                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MPR:RCH/EMR                                       271 Cadman Plaza East
F#: 2019R00927                                    Brooklyn, New York 11201


                                                  January 24, 2020

By ECF

The Honorable Edward R. Korman
United States District Judge
United States District Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

The Honorable Brian M. Cogan
United States District Judge
United States District Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

Douglas C. Palmer
Clerk of the Court
United States District Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Joaquin Guzman Loera, et al.
                     Docket No. 09-CR-466 (BMC)                   j

                     United States v. Genaro Garcia Luna
                     Docket No. 19-CR-576 (BMC)          f

                     United States v. Ivan Reyes Arzate
                     Docket No. 20-CR-30 (ERK)

Dear Judge Korman and Judge Cogan:

              Pursuant to Rules 50.3.2 and 50.4 of the Guidelines for the Division of Business
Among District Judges, the government hereby provides notice that the above-referenced cases
are presumptively related. Accordingly, the government respectfully requests reassignment of
United States v. Reyes Arzate, 20-CR-30, to Judge Cogan. Reyes Arzate is presumptively
related to Guzman Loera and Garcia Luna because the facts of Reyes Arzate arise out of the
same criminal schemes, transactions and events as charged in Guzman Loera and Garcia Luna.
               Specifically, on January 23, 2020, a grand jury sitting in the Eastern District of
New York returned an indictment charging the defendant Ivan Reyes Arzate with:
(i) conspiracy to distribute and possess with intent to distribute cocaine, in violation of Title
21, United States Code, Sections 841 and 846; (ii) cocaine importation conspiracy, in violation
of Title 21, United States Code, Sections 952 and 963; and (iii) international cocaine
distribution conspiracy, in violation of Title 21, United States Code, Sections 959 and 963.
The charges stem from Reyes Arzate’s corrupt assistance to El Seguimiento 39, a Mexican
Cartel associated with the Sinaloa Cartel, the Beltran Leyva Organization (“BLO”) and other
Mexican Cartels. Between 2003 and 2016, the defendant was a Mexican Federal Police
Officer assigned to the Sensitive Investigative Unit (“SIU”). Between 2008 and 2016, he was
the SIU Commander, making him its highest-ranking officer. In that role, the defendant was
the principal point of contact for information sharing between U.S. and Mexican law
enforcement personnel assigned to the SIU. He routinely had contact with and worked
collaboratively with DEA agents in Mexico City. In exchange for at least hundreds of
thousands of dollars of bribes, he assisted Mexican cartels in funneling cocaine into the United
States, including New York City.

               The government expects to introduce evidence at trial establishing that Reyes
Arzate provided corrupt assistance to the BLO in the mid- to late-2000s. The BLO was a
faction of the Sinaloa Cartel before it split off from that Cartel and went to war against it in
approximately 2008. The government presented significant evidence regarding the BLO at
trial in Guzman Loera. The government expects some of the evidence regarding the BLO from
Guzman Loera to overlap with the evidence in Reyes Arzate. In addition, Reyes Arzate was
the SIU Commander of the Mexican Federal Police while Genaro Garcia Luna was the
Secretary of Public Security, who oversaw the Mexican Federal Police. Like Reyes Arzate,
the government expects to present evidence that Garcia Luna accepted bribes from the BLO.
Thus, the government expects some of the evidence to overlap in Garcia Luna and Reyes
Arzate. For the foregoing reasons, Reyes Arzate is thus presumptively related to Guzman
Loera and Garcia Luna. The government respectfully submits that reassignment to Judge
Cogan would be appropriate, as it would likely result in a significant savings of judicial
resources and serve the interests of justice.

                                                    Respectfully submitted,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney

                                            By:      /s/ Michael P. Robotti
                                                    Michael P. Robotti
                                                    Ryan Harris
                                                    Erin Reid
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

cc: Defense Counsel (by email)

                                               2
